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                               UNITED STATES DISTRICT COURT
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                              NORTHERN DISTRICT OF CALIFORNIA
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                                  SAN FRANCISCO DIVISION
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11   CARLOS DADA, SERGIO ARAUZ,               Case No. 3:22-cv-07513-JD
     GABRIELA CÁCERES GUTIÉRREZ, JULIA
12   GAVARRETE, ROMAN GRESSIER,               [PROPOSED] ORDER GRANTING
     GABRIEL LABRADOR, ANA BEATRIZ            DEFENDANTS’ NSO GROUP
13   LAZO ESCOBAR, EFREN LEMUS,               TECHNOLOGIES LTD. AND Q CYBER
     DANIEL LIZÁRRAGA, CARLOS LÓPEZ           TECHNOLOGIES LTD.’S
14   SALAMANCA, CARLOS MARTÍNEZ,              ADMINISTRATIVE MOTION TO FILE
     ÓSCAR MARTÍNEZ, MARÍA LUZ                UNDER SEAL
15   NÓCHEZ, VÍCTOR PEÑA, NELSON
     RAUDA ZABLAH, DANIEL REYES               Judge: Hon. James Donato
16   MARTÍNEZ, MAURICIO SANDOVAL
     SORIANO, and JOSÉ LUIS SANZ,
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                Plaintiffs,
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          v.
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     NSO GROUP TECHNOLOGIES LTD.
20   And Q CYBER TECHNOLOGIES LTD.,
21              Defendants.
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      [PROPOSED] ORDER GRANTING                                    Case No. 3:22-cv-07513-JD
      DEFENDANTS’ ADMINISTRATIVE
      MOTION TO FILE UNDER SEAL
       Case 3:22-cv-07513-JD Document 73-6 Filed 01/06/24 Page 2 of 2




 1          This Court, having considered the Administrative Motion to File Under Seal submitted by

 2   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited (collectively,

 3   the “Defendants”), and the Declaration of Aaron S. Craig filed in support thereof, and GOOD

 4   CAUSE THEREFOR APPEARING, finds that good cause supports the sealing of the court records

 5   as specified in this Order.

 6    Documents To Be Sealed                                                Portion To Be Sealed
 7    Declaration of Aaron S. Craig in Support of Defendants’ Indicated           portions             of
      Administrative Motion to File Under Seal (“Craig Declaration”) Paragraphs: 3-11, 13
 8
      Craig Declaration Exhibit 1, Defendants’                Supplemental Indicated portions of pages
 9    Memorandum in Support of Motion to Dismiss                           1-9
10    Craig Declaration Exhibit 2, Supplemental Declaration of Roy Indicated    portions               of
      Blecher in Support of Defendants’ Motion to Dismiss and Paragraphs: 2-7
11    Exhibits A through D                                         Exhibits A through D
12
      Craig Declaration Exhibit 3, Declaration of Joseph N. Indicated        portions                  of
13    Akrotirianakis in Support of Defendants’ Motion to Dismiss Paragraph 4

14          The Documents to be Sealed contain traditionally nonpublic government information for
15   which there is no constitutional right of access. See, e.g., N.Y. Times Co. v. Dep't of Justice, 806
16   F.3d 682, 688 (2d Cir. 2015). Moreover, the spirit of international comity counsels that the
17   Documents to be Sealed be kept confidential. See, e.g., Compal Elecs., Inc. v. Apple Inc., 2017
18   WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017).
19          The Motion is accordingly GRANTED, and the documents described above are to be filed
20   under seal. To the extent it is necessary in future court filings in this case for the parties to make
21   reference to the sealed content of the Sealed Document, those matters may also be filed under seal
22   pursuant to this Order.
23          IT IS SO ORDERED.
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      DATED: _________________
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26                                                   THE HONORABLE JAMES DONATO
                                                     UNITED STATES DISTRICT JUDGE
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28     [PROPOSED] ORDER GRANTING                          1                       Case No. 3:22-cv-07513-JD
       DEFENDANTS’ ADMINISTRATIVE
       MOTION TO FILE UNDER SEAL
